Case 6:20-cv-00585-ADA Document 108-10 Filed 05/20/22 Page 1 of 2




           EXHIBIT 31
 https://support.google.com/googlenest/answer/10388741?hl=en
                                                                                        Case 6:20-cv-00585-ADA Document 108-10 Filed 05/20/22 Page 2 of 2
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4 captures                                                                                                                                                                                                                 Ei       4
 1 Mar 2022 - 22 Mar 2022                                                                                                                                                             2021   PaAVEFd   2023    RAR      Re a




   Help Center            ~~ Community                                                                                                                                                                       Google Nest        [/}

 Speakers and Displays                   Nest Thermostat            Cameras and Doorbell                      Locks and Alarm Systems                       Smoke Alarms      Wi-Fi           Subscriptions and S¢               >


 Get started         >»     Google Nest Hub (2nd gen)          >»   Motion Sense on Nest Hub


  To get the most out of Google Home, choose your Help Center: U.S. Help Center, # U.K Help Center 2, Canada Help Center, [# Australia Help Center 4 .                                                                           X

                                                                                                                                                                       Google Nest Hub (2nd gen)

                                                                                                                                                                       El    Sleep Sensing on Nest Hub (2nd gen)

               Motion Sense on Nest Hub                                                                                                                                El    Review your sleep and wellness
              If you have a Nest Hub (2nd gen) with Motion Sense turned on, you can turn on gestures to do
              actions quickly with your display. You can also turn on Sleep Sensing to track your sleep and give                                                       E     chan ge Sleep Sensing settings
              you personalized insights and tips, so you wake up well rested and refreshed.

               Motion Sense uses low-energy radar to detect movement like breathing and gestures. It is                                                                E     Sleep Sensing Preview information
               powered by Soli 4 .
               Learn more about Soli & .                                                                                                                               El    Fix Sleep Sensing issues

               Motion Sense isn’t a camera. When it is on and active no distinguishable images of a person’s                                                           El    Sleep Sensing FAQ
               body or face are generated or used for Sleep Sensing or gesture detection.
                                                                                                                                                                       [El   Motion Sense on Nest Hub

              Turn Motion Sense on or off
              On Nest Hub (2nd gen), you can turn Motion Sense on or off to start or stop detecting
              movement. Note: Motion Sense needs to be on to perform Quick Gestures and Sleep Sensing.

               1. From the bottom of your Nest Hub (2nd gen) display, swipe up.
               2. Tap Settings £53 > Motion Sense ©:.
                                                                                                                                                                     Have a question?

               [1]        Give feedback about this article                                                                                                           Get an answer from an expert on the

                                                                                                                                                                     Google Home Help Forum.




              Was this helpful?                     Yes                 No




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